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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 VI TECHNOLOGIES, LLC,

                Plaintiff,                        CIVIL ACTION NO. 6:21-CV-00318-ADA

        v.                                            JURY TRIAL DEMANDED

 WOOLPERT, INC.,

               Defendant.



                      ORDER GRANTING JOINT MOTION TO STAY

       The Court has considered VI Technologies, LLC ("VI") and Defendant Woolpert, Inc.

("Woolpert") (collectively, the "Parties") Joint Motion to Stay and Notice of Settlement (the

“Motion”) and, after considering the Motion, finds that the Motion should be GRANTED.

       It is therefore ORDERD that all proceedings between the Parties are STAYED until March

28, 2022. Absent a showing of good cause, the Parties shall submit dismissal papers no later than

March 28, 2022.

SO ORDERED.


       SIGNED this 8th day of March, 2022.



                                                ________________________________
                                                ________________________________
                                                UNITED STATES DISTRICT COURT
                                                Judge Alan D Albright
